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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CRIMINAL NO.: / / “Ok / O OST 6

VIOLATIONS:
18 U.S.C. § 115(a) (1) (B) - (CBC)
Threatening United States

Official

UNITED STATES OF AMERICA

Vv.

JOHN K. DALY

26 U.S.C. § 7212(a) -
Intimidating United States
Employee Acting in Official
Capacity

INDICTMENT

COUNT ONE: (Title 18, United States Code § 115(a)(1)(B)) -
Threatening United States Official)

The Grand Jury charges that:

On or about May 14, 2010, in the District of Massachusetts,
JOHN K. DALY,

defendant herein, did threaten to assault a United States
official, to wit, an employee of the Internal Revenue Service,
with intent to impede, intimidate, and interfere with such
official while engaged in the performance of official duties, and
with intent to retaliate against such official on account of the
performance of official duties. All in violation of Title 18,

United States Code, Section 115(a) (1) (B).
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COUNT TWO: (Title 26, United States Code § 7212(a)) -
Intimidating United States Employee Acting in
Official Capacity)

The Grand Jury further charges that:
On or about May 14, 2010, in the District of Massachusetts,
JOHN K. DALY,

defendant herein, did endeavor to intimidate and impede,
corruptly and through threats of force, a United States employee
acting in an official capacity, to wit, an employee of the
Internal Revenue Service, with intent to obstruct and impede the
due administration of the Internal Revenue Code. All in

violation of Title 26, United States Code, Section 7212(a).
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COUNT THREE: (Title 18, United States Code § 115(a)(1)(B)) -
Threatening United States Official)

The Grand Jury further charges that:

On or about November 3, 2010, at Boston, in the District of

Massachusetts,
JOHN K. DALY,

defendant herein, did threaten to assault a United States
official, to wit, an employee of the Internal Revenue Service,
with intent to impede, intimidate, and interfere with such
official while engaged in the performance of official duties, and
with intent to retaliate against such official on account of the
performance of official duties. All in violation of Title 18,

United States Code, Section 115{a) (1) (B).
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COUNT FOUR: (Title 26, United States Code § 7212{a)) -
Intimidating United States Employee Acting in
Official Capacity)

The Grand Jury further charges that:

On or about November 3, 2010, at Boston, in the District of

Massachusetts,
JOHN K. DALY,

defendant herein, did endeavor to intimidate and impede,
corruptly and through threats of force, a United States employee
acting in an official capacity, to wit, an employee of the
Internal Revenue Service, with intent to obstruct and impede the
due administration of the Internal Revenue Code. All in

violation of Title 26, United States Code, Section 7212(a).
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A TR R BILL

   

 

 

CYNTHIA W. LIE
ASSISTANT U.S. ATTORNEY

DISTRICT OF MASSACHUSETTS ; , 2011
Returned into the District Court by Grand Jurors and filed.

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